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                   IN THE DISTRICT COURT OF THE UNITED STATES
                           DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION


UNITED STATES OF AMERICA                            Crim. No. 2:19-CR-00441-RMG


v.
AMIR GOLESTAN,
MICFO, LLC




     GOVERNMENT’S SENTENCING MEMORANDUM AND MOTION FOR AN
                       UPWARD VARIANCE
       On November 16, 2021, the Defendants Amir Golestan (Golestan) and Micfo, LLC (Micfo)

(collectively, Defendants) pled guilty to twenty counts of wire fraud after 1.5 days of trial. The

United States submits this memorandum in advance of Defendants’ sentencing. 1 In his scheme to

defraud, Golestan created fake companies and fake persons to obtain the rights to IP addresses he

would not have otherwise been entitled to. Golestan did this because he knew he could make

money off the fraudulently obtained IP addresses. In fact, Golestan profited nearly $3.3 million

from the sale of fraudulently obtained IP addresses and had a contract for over $6 million in place

at the time his fraud was discovered. As will be discussed in detail throughout this memorandum,

Golestan’s conduct merits a serious punishment more than the advisory guideline range set forth

by the United States Probation Office (USPO) in its Presentence Report (PSR).




1
  The Government’s sentencing memorandum and motion for an upward variance pertain primarily
to the individual Defendant, Amir Golestan. While the Government did submit objections to
Micfo’s PSR that were based on the same arguments as the objections to Golestan’s PSR, and, if
granted, would increase the fine amount, the Government recognizes the USPO found that Micfo
does not have the ability to pay a fine. See Micfo PSR ¶ 44.
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        The USPO in its PSR for Golestan determined the total offense level is 14, which results

in a guideline range of 15 to 21 months. As will be discussed in more detail below, the Government

believes an enhancement in light of the loss amount is appropriate and, as such, the PSR should

have increased the base offense level pursuant to § 2B1.1(b)(1). Should the Court agree with the

Government, Golestan’s advisory guideline range would be higher based on a loss enhancement.

However, should the Court overrule the Government’s objections and determine the advisory

guideline range is appropriately calculated by the USPO, the Government believes an upward

variance to a sentence above the advisory guideline range is appropriate after weighing the 18

U.S.C. § 3553(a) factors.

I.     FACTUAL AND PROCEDURAL BACKGROUND.

       A.      Internet Protocol addresses, ARIN policy for assignment or transfer of IP
               Addresses, and the secondary market for IPv4 addresses.

       An Internet Protocol (IP) address is a numerical label assigned to each device connected to

a computer network that uses the IP, or the Internet, for communication. IP addresses serve two

basic functions – (1) host or network identification and (2) location addressing. ARIN is a

nonprofit organization that administers IP addresses. ARIN is a Regional Internet Registry (RIR) 2

and component of the Internet Assigned Numbers Authority (IANA). The IANA delegates

Internet resources to RIRs who, in turn, follow regional policies to delegate resources to their

customers. Customers include, but are not limited to, internet service providers and end-user

organizations who utilize IP addresses in their businesses or enterprises.

       Internet “traffic” is routed through IP addresses. The addresses use a series of decimal

numbers separated by periods. The IP addresses have gone through several versions, most recently



2
 ARIN is one of five RIRs, and is the RIR for the United States, Canada, and many Caribbean and
North Atlantic Islands.
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versions four (IPv4) and six (IPv6). IPv4 was depleted at a rate not initially anticipated in the

original design of the address system, and by 2011 the global IPv4 pool was exhausted. Despite

the global exhaustion, ARIN still had its own free pool of IPv4 addresses available. Part of ARIN’s

responsibilities include allocating IP resources, specifically the allocation, assignment, and

transfer of rights to IPv4. ARIN has specific processes and policies that must be followed before

rights to an IP address can be assigned or transferred. ARIN’s Number Policy Resource Manual

(NPRM) sets forth these processes and policies.

       Broadly speaking, for an organization to request IP resources and registration rights, it must

submit a request to ARIN, provide documentation showing need for the resources in accordance

with the NPRM, and enter into a registration services agreement (RSA) with ARIN. Because of

the demand for IPv4 addresses, ARIN required justification and customer identification for

additional IPv4 address blocks to verify that the request was valid, and ARIN often had a waitlist

for IPv4 addresses.

       As a result of the demand for IPv4 addresses, a secondary market was created for the

transfer of the rights to IP address blocks. The value of the right to an IP address on the secondary

market has changed as the demand has increased. At the time Golestan was perpetrating his fraud,

the market rate for an IP address right ranged from $9 to $19. The rate has increased significantly

since then, and the value of an IP address right fluctuates based on the market as well as the

“quality” of the specific address. Brokers are often used to facilitate the sale and transfer of the

rights to IP address blocks between businesses. ARIN must approve all transfer requests, and its

policies and procedures dictate whether rights to IP address blocks can be sold on the secondary

market. For instance, as discussed above, rights to an IP address block cannot be sold on the

secondary market if it had been assigned within the last 12 months. See ARIN NPRM § 8.3.



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       B.      Amir Golestan, Micfo, LLC, and Channel Partners.

       At the time period alleged in the indictment, Micfo, LLC was a business that represented

itself as providing hosting services and providing customers with technologies and services needed

for a website or webpage to be viewed on the Internet. As part of its business, Micfo applied and

registered for IPv4 addresses through ARIN. Golestan started Micfo in 1999, and owned and

operated Micfo throughout the existence of the business.

        From February 2014 to the time Golestan and Micfo were indicted, Golestan and Micfo

created and utilized Channel Partner companies to obtain the rights to IP addresses that they could

not legally obtain. The Channel Partner companies purported to be individual businesses, which

required IP address rights, and would apply directly to ARIN for the IP address rights.

Specifically, the Channel Partners would complete paperwork, which included the identification

of officers, and provide justification for the Channel Partner’s need for IP address rights. Golestan

created fictitious persons, represented to be officers or others acting on behalf of the Channel

Partners, for each Channel Partner company. The following Channel Partner companies and

individuals, among others, were created and used by Golestan and Micfo:

                        Company                           Fabricated Individual(s)


         Contina                                     John Liberman


         Virtuzo                                     Jeff Farber/Mark Schmidt


         Oppobox                                     Kevin Chang


         Telentia                                    Yong Wook-Kwon


         Univera Network/HostAware                   Steve Cunningham



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         Roya Hosting                                Brian Sherman


         Host Bang                                   Ahmad Al Bandi


         Hyper VPN                                   Sebatian Buszewski


         Fiber Galaxy                                Pooya Torabi


         Cloudiac                                    Pail Lampert




       Part of the scheme was to represent to ARIN, when applying for IP address rights,

particular aspects about the Channel Partner company applying. Golestan at times would set forth

who the officers were, information regarding the Secretary of State registration, and would submit

to ARIN sworn affidavits representing facts about the business, all set forth and often signed by

fictitious individuals. Golestan at times would also create web pages and email addresses for these

fictitious individuals and Channel Partner companies to make the companies look legitimate and

make it look like the individuals did in fact run the companies. Using the Channel Partners, either

individually or on applications for Micfo, as justification, Micfo and Golestan were granted the

rights to hundreds of thousands of IPv4 addresses from ARIN. Golestan and Micfo then sold the

rights to many of these IP addresses to third parties, making a significant profit from their scheme.

       C.      Nature of the charges against Defendants, Defendants’ trial, and Defendants’
               guilty plea.

       In May 2019, Defendants were charged in a twenty-count indictment alleging violations of

18 U.S.C. § 1343 for knowingly devising and intending to devise a scheme and artifice to defraud




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and obtain property, specifically IPv4 address rights from ARIN, by means of false and fraudulent

pretenses, representations, and promises. 3

        On November 15, 2021, Defendants’ trial began in front of this Court. On November 16,

2021, 1.5 days into trial, Defendants pled guilty to all twenty counts of wire fraud pursuant to 18

U.S.C. § 1343. ECF No. 105.

II.     THE PRESENTENCE REPORT AND OBJECTIONS.

        After trial, and in advance of sentencing, the Court ordered briefing from both parties

pertaining to the amount of loss attributable to Defendants’ criminal acts and the potential victims

to Defendants’ offenses. ECF Nos. 109 and 113. Each party submitted their respective briefs for

the Court’s consideration. See ECF Nos. 111, 112, 115, and 116. The USPO prepared a PSR for

each Defendant in advance of sentencing. The parties each submitted objections, and a revised

PSR and addendum were sent to the parties on May 4, 2022 and May 24, 2022, for Golestan and

Micfo, respectfully.

        The Government’s objections pertained primarily to the lack of lack of loss enhancement

pursuant to § 2B1.1(b)(1) based on the USPO’s determination that there were no victims who

suffered an actual loss based on the Sentencing Guidelines’ definition of “actual loss” in § 2B1.1. 4

The Government would refer the Court to its previously filed briefs and objections to the PSR for




3
 The Government would refer the Court to its Indictment, ECF No. 2, and PSR ¶¶ 1-3 for the
details for each of the twenty counts.
4
  The Government also raised in its objections its position that even if there are no victims for the
purposes of loss calculation, there are most certainly victims pursuant to the Crime Victims’ Rights
Act, 18 U.S.C. § 3771 (CVRA) who are entitled to give victim impact statements. Further, based
on the Government’s position that there are identifiable victims to Defendants’ offenses of
conviction, the Government believes the Court must order restitution to these victims if there is
loss as set forth in 18 U.S.C. § 3663A (MVRA).


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its arguments in support of its objections. Further, the Government is prepared to address these

objections at Defendants’ sentencing.

         The Defendant Amir Golestan’s objections to the PSR pertain to the obstruction of justice

enhancement, which increased the total offense level by two levels. The Government believes the

obstruction of justice enhancement was appropriately applied and is prepared to address its

position at Defendant’s sentencing.

III.     EVALATION OF THE STANDARDS SET FORTH IN 18 U.S.C. § 3553(a)
         WARRANTS AN UPWARD VARIANCE TO A SENTENCE ABOVE THE
         ADVISORY GUIDELINES RANGE.

         The sentencing statute, 18 U.S.C. § 3553(a), requires the Court to impose a sentence that

is “sufficient, but not greater than necessary,” to comply with the purposes of sentencing. 5      In

order to determine the “particular” sentence to impose, the Court must consider the familiar

statutory factors listed in §3553(a)(1)-(7). Two of the statutory factors that the Court must consider

are (1) the advisory guidelines range set by the Sentencing Commission and (2) the Commission’s

policy statements are factors to be considered. See §3553(a)(4) and (a)(5). Further, the Advisory

sentencing guidelines “should be the starting point and the initial benchmark” in determining the

appropriate sentence. See Gall v. United States, 522 U.S. 38 (2007).

         There are times when the advisory guideline range does not properly account for a

defendant’s conduct and a variance, either upwards or downwards, is appropriate after evaluation

of each § 3553(a) factor. United States v. McKinnie, 21 F.4th 283, 289 (4th Cir. 2021), cert.

denied, 142 S. Ct. 2798 (2022) (holding that district courts may vary from the guidelines based on



5
  Those purposes are the need for the sentence “(A) to reflect the seriousness of the offense, to
promote respect for the law, and to provide just punishment for the offense; (B) to afford adequate
deterrence to criminal conduct; (C) to protect the public from further crimes of the defendant; and
(D) to provide the defendant with needed educational or vocational training, medical care, or other
correctional treatment in the most effective manner.” § 3553(a)(2)(A)-(D).
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application of § 3553(a) factors). Here, as explained in more detail below, an evaluation of the

§ 3553(a) factors establishes that the advisory guidelines range does not adequately account for

Golestan’s criminal conduct, and an upward variance to a more significant sentence is appropriate

and is “sufficient, but not greater than necessary” to comply with the purposes of sentencing.

       A.      Nature of Offense and History and Characteristics of Defendant – §3553(a)(1).

                                      Nature of the Offense

       Golestan’s criminal conduct took skill and effort to allow him to effectuate his scheme to

defraud ARIN and make a significant profit off the fraudulently obtained IP addresses. As was

presented at trial, Golestan created ten fake Channel Partner companies, which allowed him to get

the rights to use IPv4 addresses he would not have otherwise been able to receive. Importantly, as

it relates to the complexity and seriousness of the offense, it was not just creation of fake

companies—Golestan created fake officers and, at times, created web pages and email addresses

for these fictitious individuals and Channel Partner companies to make the companies look

legitimate and make it look like the individuals did in fact run the companies. The creation of the

fake officers was crucial to Golestan’s fraud because ARIN required sworn affidavits from

company officers when setting forth justification for the IPv4 addresses.

       Golestan knew there was a secondary market for the sale of IPv4 addresses and created a

complex and intricate scheme to profit from the sale the IPv4 addresses he obtained the rights to

from ARIN. Brokers are often used to facilitate the sale and transfer of IP addresses between

businesses, and the Court heard testimony from the following brokers at trial: Jack Hazan, Mike

Burns, Hillary Stiff, and IPv4 Market Group. Each broker that testified explained the demand for




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IPv4 addresses and the increasing value of an IPv4 address. 6 Moreover, each broker testified that

they would not have been involved in the transactions had they known the IPv4 addresses were

obtained by fraud.

       Golestan’s actions have affected more than just ARIN. The fraudulent representations

Golestan made, and the use of fake companies and fake persons, impeded other businesses and

criminal investigations. Although the full effect will likely never be known, two examples are

contained in the victim impact statement submitted by Kerry Culpepper (Culpepper) and by

evidence gathered through the FBI’s criminal investigation.        As it pertains to Culpepper,

Golestan’s fraudulent representations hindered his client’s ability to protect their intellectual

property rights because they were unable to identify the owners of the IP addresses that were

streaming the intellectual property. As it pertains to other criminal investigations, Scot Sledd

(Sledd) is an FBI agent in Nashville, Tennessee. Sledd was involved in an investigation involving

national security issues and led federal agents to an IP address associated with Contina – one of

Golestan’s Channel Partner companies. When federal agents went to speak to Contina, there was

no business to be found. Ultimately law enforcement was able to locate Golestan in Charleston,

South Carolina, but it took more subpoenas and more investigative resources than would have

initially been necessary because of Golestan’s fraud. 7




6
  In 2017, the market rate for an IP address ranged from $9 to $13. At the time Defendants’ fraud
was discovered, IPv4 addresses were selling for between $17 to $19 an address. Currently, market
rates for an IPv4 addresses are around $50 an address.
7
 The Government is also aware of an investigation into child pornography that led to an IP address
associated with Jordan Liberman and Contina – another fake person and company associated with
Golestan’s fraud.

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       Through their scheme, Defendants successfully obtained 1,077,130 IPv4 addresses based

on either partial or completely fraudulent representations. 8       Moreover, in September 2014,

Defendants attempted to acquire an additional 262,142 IPv4 addresses, but this attempted

acquisition was flagged by ARIN and never was completed. The total number of IPv4 addresses

that Defendants fraudulently obtained or attempted to obtain is approximately 1,339,272. The

Government fully briefed the estimated value of these 1,339,272 IPv4 addresses in its

memorandum filed with the Court on December 3, 2021 and would refer the Court to this filing

for the full analysis. See ECF No. 111. However, for the purposes of this sentencing memorandum

and potentially instructive for determining what amount of upward variance is appropriate, the

Government would set forth that Golestan personally profited $3,375,104.00 from completed sales

of IPv4 addresses. 9 This profit alone, if using the loss table of § 2B1.1(b)(1), would result in a 16-

level increase to the base offense level and result in a total offense level of 30, resulting in a

guidelines range of 97 to 121 months. While the Government understands that loss amount is not

always the driving factor in fashioning a “sufficient, but not greater than necessary” sentence, it

believes the enhancement that would have been applied but-for the Guidelines definition of “actual

loss” is instructive to determining what is an appropriately significant sentence for Golestan.




8
  Sweeting testified at trial that IPv4 addresses obtained by Micfo using fictitious Channel Partners
were obtained wholly by fraud. Even if legitimate justifications existed apart from the false
Channel Partner information, ARIN would not have granted the fictitious Channel Partner rights
to the IPv4 addresses.
9
  It is also worth mentioning that at the time Defendants’ fraud was discovered by ARIN, he was
under contract to sell IPv4 addresses to Saudi Telecom for $19 an address. The value of this
stopped contract was $6,225,920.00.
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                           History and Characteristics of the Defendant

       Although Golestan does not have a significant criminal history, the actions he took to hide

his criminal conduct in the present case warrant a significant period of incarceration. The USPO

has correctly found that Golestan obstructed justice in the pending criminal proceedings and

increased his base offense level by the appropriate two levels. See PSR ¶ 57. Even though

Golestan is being held accountable for the two-level obstruction enhancement, his actions are also

important when evaluating the § 3353(a) factors. As was testified to at trial, Golestan used his

employees to effectuate his scheme and in the process negatively impacted their lives, financial

stability, and careers. These employees incurred thousands of dollars in legal expenses because of

Golestan’s frivolous lawsuits against them and are still faced with debt from legal expenses

brought about by Golestan’s efforts to intimidate them and avoid being caught in his fraud.

       Melyssa Banda was hired by Golestan and relocated her family to Charleston, South

Carolina and worked tirelessly to try and make Micfo successful. As Banda became more

concerned about the legitimacy of the Channel Partner companies and sought answers from

Golestan, Golestan became more aggressive towards her, and tensions began to rise. See Trial

Transcript, Day 2, pg. 258. Banda testified at trial that one day at the office Golestan was

“aggressive and shouting profanities at her”, and Banda was concerned about her career and

reputation if she stayed at Micfo.   See Trial Transcript, Day 2, pgs. 261, 264. Golestan had a

cease-and-desist letter served on Banda at her home after she submitted her resignation. See Trial

Transcript, Day 2, pg. 264.

       Victoria Latham also testified at trial. She testified that Golestan hacked into her Google

account to obtain her private text messages and track her location to serve her with a civil lawsuit.

See Trial Transcript, Day 2, pgs. 360 – 362. In these text messages, Golestan tells his ex-wife that



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“If I have to get something, especially as it pertains to protecting myself, my family, out company,

and our team members, I do everything and become very resourceful.” See id. pg. 361.

       In addition to Golestan’s conduct towards his former employees, his actions in a

simultaneous family court action also favor a more significant period of incarceration. Golestan

threatened the court-appointed Guardian Ad Litem once he learned that she was interviewed by

the FBI in the criminal case. It was not just a one-off threat; he threatened her multiple times and

one threat involved reporting her to the South Carolina Bar’s Office of Disciplinary Counsel. In

addition, Golestan was held in criminal contempt by the family court and sentenced to 10 months

incarceration for his actions. The exact details that lead to the criminal contempt are unknown to

the Government at this time, but a criminal contempt action is not usually instituted for

insignificant conduct.

       Finally, Golestan’s actions in a federal civil lawsuit in Colorado also warrant a significant

period of incarceration. The Government would refer the Court to the victim impact statement

submitted by Kerry Culpepper for the full details of the lawsuit but the significant portion for the

purpose of evaluating this § 3553(a) letter is Golestan’s complete disregard for the law and orders

from a federal court. In fact, it appears Golestan refused to cooperate with discovery in the

Colorado action and willfully disobeyed an order of the Colorado court ordering him to cooperate.

       While the Defendant’s lack of criminal history may favor a lesser period of incarceration,

his actions to hide his fraud, intimate his employees, intimidate persons involved in his family

court matter, and also his complete disregard for the law favor a significant upward variance.




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       B.      Need for the Sentence Imposed to Reflect the Seriousness of the Offense, to
               Promote Respect for the Law, and to Provide Just Punishment for the Offense,
               Afford Adequate Deterrence to Criminal Conduct, and Need for the Sentence
               Imposed to Protect the Public from Further Crimes of the Defendant –
               §3553(a)(2)(A)-(C).

       Economic crimes and white-collar offenses must be met with sentences commensurate with

the seriousness of the crimes themselves. Concern that “white-collar offenders . . . frequently do

not receive sentences that reflect the seriousness of their offenses” was among the motivations for

the Sentencing Reform Act that gave rise to the United States Sentencing Guidelines. S. Rep. No.

98-225 (1983), reprinted in 1984 U.S.C.C.A.N. 3182, 3260. However, in some instances the

advisory guideline range does not adequately account for the seriousness of a person’s conduct,

and a Court, in its discretion, may vary upward based on an evaluation of each § 3553(a) factor.

Here, a sentence less than an upward variance to a significant period of incarceration for Golestan

would promote a lack of respect for the law and fail to deter others who may be attempting to profit

over fraudulently obtained IPv4 addresses.

       Specifically, an upward variance would address the deterrence factor, which is so critical

in corruption and fraud cases. Fraud is “‘more rational, cool, and calculated than sudden crimes

of passion or opportunity,’ these crimes are ‘prime candidate[s] for general deterrence.’” United

States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006) (quoting White–Collar Plea Bargaining and

Sentencing After Booker, 47 Wm. & Mary L.Rev. 721, 724 (2005)). “Defendants in white collar

crimes often calculate the financial gain and risk of loss, and white-collar crime therefore can be

affected and reduced with serious punishment.” Id. Further, an upward variance to a more

significant period of incarceration is imperative to deter others who may be attempted to defraud

ARIN, and its counterparts in other parts of the Country, like Golestan did. As mentioned by Mr.

Culpepper in his victim impact statement, a significant sentence for Golestan would deter other



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data service providers from engaging in similar conduct and send a message to other fraudsters

that if they perpetrate fraud against non-profits like ARIN who are attempting to regulate the

internet community they will be significantly punished.

       C.      The Need to Avoid Unwarranted Sentence Disparities Among Defendants with
               Similar Records Who Have Been Found Guilty of Similar Conduct –
               §3553(a)(6).

       Congress has directed sentencing courts to consider “the need to avoid unwarranted

sentence disparities among defendants with similar records who have been found guilty of similar

conduct . . . .” 18 U.S.C. § 3553(a)(6). “[T]he kind of disparity with which § 3553(a)(6) is

concerned is an unjustified difference across judges (or districts) rather than among defendants to

a single case.” United States v. Pyles, 482 F.3d 282, 290 (4th Cir. 2007), vacated on other grounds

by 552 U.S. 1089 (2008) (internal quotation marks omitted). Thus, the Court is tasked with

evaluating sentencing disparities nationwide, rather than between co-defendants. See id. “The

Guidelines’ goal of national sentencing uniformity is not aimed only at the particular criminal

conduct that co-conspirators may share, but also addresses other factors that often vary between

co-conspirators like acceptance of responsibility and assistance to the government.” United States

v. Withers, 100 F.3d 1142, 1149 (4th Cir. 1996).

       Golestan’s fraud is complex and unique and took great skill and effort to accomplish. An

upward variance to a more significant period of incarceration than that called for by the advisory

guidelines range would not create any unwarranted disparity because white collar offenders across

the country are receiving sentences commensurate with their conduct and the amount of money

involved in their crimes. As discussed briefly earlier in this memorandum, had the PSR found a

loss enhancement solely on the amount Golestan profited, a 16-level enhancement would have

been added to Golestan’s total offense level. Simply put, Golestan is getting the benefit of



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defrauding a non-profit who realized no “actual loss” as defined by the Sentencing Commission

and, as a result, he is not being held accountable in the PSR for the amount he personally profited.

Further, the actual value of the IPv4 addresses he obtained by fraud and was attempting to sell at

the time he was caught is much higher.

           D.     The Need to Provide Restitution – §3553(a)(7).

           One of the factors that the Court must consider in fashioning a sentencing is the need to

provide restitution for the victims of the offense. Defendant’s fraud was complex, and his main

victim was a non-profit who incurred significant expense. Defendant’s other victims were

employees of his company who were harassed and intimated with legal actions and incurred

significant legal expenses. These individuals will be unable to be made whole through the

restitution statutes and, as a result, an upward variance to a more significant period of incarceration

is warranted.

IV.        CONCLUSION.

           For the reasons stated in this memorandum, if the Court overrules the Government’s

objections to the PSR, the Government believes an evaluation of the § 3553(a) factors warrants a

significant upward variance. When each of the sentencing standards set forth in § 3553(a) are

examined, it is clear that the advisory guideline range as calculated by the PSR does not promote

the purposes of sentencing and adequately punish the Defendant’s conduct.               Based on the

reasoning set forth above, the Government believes an upward variance to a lengthier period of

incarceration is sufficient, but not greater than necessary, to comply with the relevant sentencing

factors.




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                                                   Respectfully submitted,

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Charleston, South Carolina




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